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   AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)           ‫ ܆‬Original    ‫ ܆‬Duplicate Original

           LODGED
  CLERK, U.S. DISTRICT COURT
                                             UNITED STATES DISTRICT COURT
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                                                              for the
CENTRAL DISTRICT OF CALIFORNIA
            '0
  BY: ___________________ DEPUTY
                                                   Central District of California
                                                                                                  5/21/21
                                                                                                         ev

     United States of America

                             v.
                                                                        Case No. PM
     SCOTT QUINN BERKETT,

                             Defendant


                                          CRIMINAL COMPLAINT BY TELEPHONE
                                         OR OTHER RELIABLE ELECTRONIC MEANS
               I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

   On or about the date of May 20, 2021 in the county of Los Angeles in the Central District of California, the

   defendant violated:

                  Code Section                                          Offense Description

                  18 U.S.C. § 1958                                      Murder for Hire

               This criminal complaint is based on these facts:

                 Please see attached affidavit.

               _ Continued on the attached sheet.



                                                                                      Complainant’s signature

                                                                              Caitlin Bowdler, Special Agent, FBI
                                                                                       Printed name and title
     Attested to by the applicant in accordance with the requirements of Fed.
                                                                           d. R. Crim. P. 4.1 by telephone.

     Date:                         5/21/21
                                                                                          Judge’s signature

     City and state: Los Angeles, California                             Hon. Margo A. Rocconi, U.S. Magistrate Judge
                                                                                       Printed name and title



   AUSA: Axelrad x7964
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                                AFFIDAVIT

I, Caitlin Bowdler, being duly sworn, declare and state as

follows:

                            I. INTRODUCTION

        1.   I am a Special Agent (“SA”) with the Federal Bureau of

Investigation (“FBI”) and have been so employed since March

2017.    I am currently assigned to the Los Angeles Field Division

Violent Crime Squad which is responsible for investigating

kidnappings, extortion, bank robberies, Hobbs Act violations,

and other violent crimes.      During the time I have been employed

by the FBI, I have also worked on a white-collar crime squad.

        2.   Since becoming an FBI Special Agent, I have received

formal training at the FBI Training Academy in Quantico,

Virginia.    This training included segments on conducting

criminal investigations, narcotics identification, organized

crime, and other law enforcement topics.        During the time I have

been employed by the FBI, I have participated in investigations

relating to extortion, cybercrimes, wire fraud, mortgage fraud,

identity theft, mail fraud, and various types of financial

institution fraud and violent crimes.        I have participated in

many aspects of criminal investigations, such as, but not

limited to, reviewing evidence, the issuance of subpoenas, the

analysis of pen and trap and trace records, consensually

monitored telephone calls, conducting physical and electronic

surveillance, working with informants, and the execution of

search and arrest warrants.
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                       II. PURPOSE OF AFFIDAVIT
      3.     This affidavit is made in support of a criminal

complaint against, and arrest warrant for, SCOTT QUINN BERKETT

(“BERKETT”) for a violation 18 U.S.C. § 1958 (Murder-For-Hire).

This affidavit is also made in support of search warrants for

the following:

             a.   The premises located at 301 S. El Camino Drive,

Beverly Hills, California 90212 (“SUBJECT RESIDENCE”) as

described more fully in Attachment A-1;

             b.   A 2008 MERCEDES CLK 350 with California license

plate 6GFE033, VIN WDBTK56F08T099038 (the “SUBJECT VEHICLE”) as

described more fully in Attachment A-2;

             c.   The person of BERKETT, as described more fully in

Attachment A-3.

      4.     The requested search warrants seek authorization to

seize evidence, fruits, or instrumentalities of violations of 18

U.S.C. § 1958 (Murder-For-Hire); 18 U.S.C. § 373 (Solicitation

to Commit a Crime of Violence); and 18 U.S.C. § 371 (Conspiracy)

(the “SUBJECT OFFENSES”), as described more fully in Attachment

B.   Attachments A-1, A-2, A-3, and B are incorporated herein by

reference.

      5.     The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

search warrants and does not purport to set forth all of my


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knowledge of or investigation into this matter.         Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

                III. TRAINING AND EXPERIENCE ON BITCOIN

     6.    A Bitcoin wallet is used to store cryptocurrency and

can control multiple Bitcoin addresses. The wallet interfaces

with the blockchain and uses private keys to restrict access to

spending Bitcoin.

     7.    Bitcoin is a type of virtual currency, circulated over

the Internet.     Bitcoin are not issued by any government, bank,

or company, but rather are controlled through computer software

operating via a decentralized, peer-to-peer network.          Bitcoin is

just one of many varieties of virtual currency.

     8.    Bitcoin are sent to and received from Bitcoin

“addresses.”    A Bitcoin address is somewhat analogous to a bank

account number and is represented as a 26-to-35-character-long

case-sensitive string of letters and numbers.         Each Bitcoin

address is controlled through the use of a unique corresponding

private key.    This key is the equivalent of a password, or PIN,

and is necessary to access the funds associated with a Bitcoin

address.   Only the holder of an address’ private key can

authorize transfers of bitcoin from that address to other

Bitcoin addresses.    Users can operate multiple Bitcoin addresses

at any given time and may use a unique Bitcoin address for each

and every transaction.



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     9.    To acquire bitcoin, a typical user purchases them from

a virtual currency exchange.       A virtual currency exchange is a

business that allows customers to trade virtual currencies for

other forms of value, such as conventional fiat money (e.g.,

U.S. dollars, Russian rubles, euros).        Exchanges can be brick-

and-mortar businesses (exchanging traditional payment methods

and virtual currencies) or online businesses (exchanging

electronically transferred money and virtual currencies).

Virtual currency exchanges doing business in the United States

are regulated under the Bank Secrecy Act and must collect

identifying information about their customers and verify their

clients’ identities.

     10.   To transfer bitcoin to another Bitcoin address, the

sender transmits a transaction announcement, which is

electronically signed with the sender’s private key, across the

peer-to-peer Bitcoin network.      To complete a transaction, a

sender needs only the Bitcoin address of the receiving party and

the sender’s own private key.      This information on its own

rarely reflects any identifying information about either the

sender or the recipient.     As a result, little-to-no personally

identifiable information about the sender or recipient is

transmitted in a Bitcoin transaction itself.         Once the sender’s

transaction announcement is verified by the network, the

transaction is added to the blockchain, a decentralized public

ledger that records every Bitcoin transaction.         The blockchain

logs every Bitcoin address that has ever received bitcoin and

maintains records of every transaction for each Bitcoin address.


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      11.   While a Bitcoin address owner’s identity is generally

anonymous within the blockchain (unless the owner opts to make

information about the owner’s Bitcoin address publicly

available), investigators can use the blockchain to identify the

owner of a particular Bitcoin address.        Because the blockchain

serves as a searchable public ledger of every Bitcoin

transaction, investigators can trace transactions to, among

other recipients, Bitcoin exchangers.        Because Bitcoin

exchangers generally collect identifying information about their

customers, as discussed above, subpoenas or other appropriate

legal process submitted to exchangers can, in some instances,

reveal the true identity of an individual responsible for a

Bitcoin transaction.

                    IV. SUMMARY OF PROBABLE CAUSE

      12.   In May 2021, law enforcement received information that

an individual purportedly solicited murder-for-hire services via

a Dark Web Group.    The individual provided specific directions

about the requested murder and details about the target, Victim

1.   This individual sent Bitcoin payments totaling approximately

$14,000 to the Dark Web Group that was purchased using a debit

card and bank account belonging to BERKETT.         Based on this

information, law enforcement contacted and interviewed Victim 1.

Victim 1 confirmed a prior acrimonious relationship with

BERKETT.

      13.   On May 19, 2021, an undercover law enforcement agent

(“UC”) contacted BERKETT, while impersonating the hitman BERKETT

had contracted with via the Dark Web Group.         During a series of

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recorded conversations, BERKETT confirmed his requested murder

of Victim 1, provided additional identifying details regarding

Victim 1 and her location, and, on May 20, 2021, made an

additional payment of $1,000 via Western Union intended for the

UC.

                    V. STATEMENT OF PROBABLE CAUSE

      A.     Personal and Sexual Relationship Between BERKETT and
             Victim 1

      14.    Based on my conversations with other law enforcement

agents, and my familiarity with this investigation, as well as

my May 14, 2021, interview of Victim 1, I am aware of the

following:

             a.   Victim 1 met BERKETT through a Facebook Fan Page

called RWBY Nation related to a Japanese anime show.          BERKETT

and Victim 1 were both administrators for the site and began

personally communicating in approximately July or August 2020.

             b.   BERKETT and Victim 1 messaged each other on the

Discord messaging application and talked over the phone.

BERKETT used the phone number 310-922-9623 to contact Victim 1

(hereafter, “BERKETT’s Phone.”)

             c.   On October 27, 2020, Victim 1 flew to meet

BERKETT in Los Angeles, California.       Victim 1 stayed in Los

Angeles until October 30, 2020.       Prior to this meeting, Victim 1

had never met BERKETT in person.

             d.   On October 27, 2020, BERKETT picked Victim 1 up

at LAX in the SUBJECT VEHICLE.      That same day, BERKETT took

Victim 1 to the Avalon Hotel, located at 9400 W. Olympic Blvd.,


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Beverly Hills, California 90212, where he paid for a room for

Victim 1 to stay during the visit.

             e.   On or about May 17, 2021, I reviewed records

provided by Avalon Hotel in Beverly Hills.        These records

confirmed the phone number listed for the reservation was

BERKETT’s Phone, the email address was scott.berkett@gmail.com,

and that the room was paid for by a VISA card ending in 0715.

      B.     Victim 1 Ends Relationship with BERKETT

      15.    Based on my conversations with other law enforcement

agents, and my familiarity with this investigation, as well as

my May 14, 2021, interview of Victim 1, I am aware of the

following:

             a.   During Victim 1’s trip to Los Angeles, Victim 1

had sex with BERKETT, but felt pressured to do so.          BERKETT was

sexually aggressive towards Victim 1.

             b.   After the trip, Victim 1 tried to break up the

relationship with BERKETT, but he refused to accept the break-

up.   BERKETT became very possessive and began constantly

messaging Victim 1 on multiple social media and communications

platforms.    When Victim 1 did not respond to a message on one

platform, BERKETT would find another way to message her.

             c.   Victim 1 tried to break up the relationship in

December over the phone, but BERKETT refused to accept the

break-up.    On January 1, 2021, Victim 1 broke up with BERKETT

via the text messaging application Discord.         Eventually BERKETT

and Victim 1 began speaking again.       BERKETT became very

possessive, despite Victim 1 wanting to move on.         On February 7,


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2021, Victim 1 confronted BERKETT, explaining that she had asked

for space and he had not given it to her, and told him to back

off.   While BERKETT appeared to accede, approximately a month

later BERKETT confronted Victim 1 about the way she had

confronted him about needing space in February.         BERKETT claimed

that Victim 1 had used him.

              d.   In April 2021, Victim 1 was visiting a family

member who knew that Victim 1 and BERKETT had been dating and

that Victim 1 had gone to meet him in October 2020.          Victim 1’s

family member learned that BERKETT had been sexually aggressive

with Victim 1 during the California trip.

              e.   Victim 1’s family member knew that Victim 1 had

attempted to break up with BERKETT, but BERKETT continued to

contact Victim 1.     Victim 1’s family member obtained BERKETT’s

father’s phone number and, along with Victim 1’s family member’s

acquaintance, called and text messaged BERKETT’s father’s phone

number.      During text messages on April 20, 2021, Victim 1’s

family requested that BERKETT cease contact with Victim 1 and

indicated they would involve law enforcement.         During the text

messages, BERKETT appears to have begun using his father’s

phone, stating “This is Scott.      I haven’t spoken to [Victim 1]

in over a month.”     After Victim 1’s family demanded that BERKETT

cease contact with Victim 1, BERKETT responded, “She is blocked

from all social media.     Will consider this matter closed.”

       C.     BERKETT Attempts to Hire Hitman to Murder Victim 1

       16.    Based on a May 14, 2021 conversation with Special

Agent Clay M. Anderson, I learned the following:


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               a.   On or about May 7, 2021, members of an

investigative media organization (“Complainants”) advised the

FBI that they had information they believed to be a threat to

life.       Law enforcement presently understands that the source of

the information to the Complainants was a group on the Dark Web

that advertised murder-for-hire services.        As law enforcement

presently understands, this Dark Web Group was a scam.          To my

knowledge, law enforcement has not had direct contact with this

Dark Web Group.

               b.   The Complainants provided the name and address of

Victim 1, who was named as a target in a murder-for-hire.           The

Complainants were able to provide transaction information from

an unnamed source on the Dark Web (“Dark Web Group”) that showed

that Bitcoin payments were made with an understanding that an

unknown individual would murder Victim 1. 1       The information

provided was specific about the identity and location of Victim

1, as well as social media accounts, nicknames, email, and a

distinctive tattoo of Victim 1.




        The “dark web,” also sometimes called the “darknet,”
        1
“dark net” or “deep web,” is a colloquial name for a number of
extensive, sophisticated, and widely used criminal marketplaces
operating on the Internet, which allow participants to buy and
sell illegal items, such as drugs, firearms, and other hazardous
materials with greater anonymity than is possible on the
traditional Internet (sometimes called the “clear web” or simply
“web”). These online black market websites use a variety of
technologies, including the Tor network (defined below) and
other encryption technologies, to ensure that communications and
transactions are shielded from interception and monitoring. A
famous dark web marketplace, Silk Road, operated similar to
legitimate commercial websites such as Amazon and eBay, but
offered illicit goods and services. Law enforcement shut down
Silk Road in 2013.
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               c.   Also provided by the Complainants were purported

excerpts of communications on the Dark Web between a user,

“Ula77” and the Dark Web Group.       Within these communications 2, on

approximately April 22, 2021, Ula77 was asked, “hi, are u

looking for a hitman?” to which Ula77 responded, “Saving up for

a simple hit. Ill be putting the job in as soon as I have the

BTC.”       Based on my training and experience, as well as my

familiarity with this investigation, I believe “BTC” was a

reference to Bitcoin.

               d.    On April 27, 2021, Ula77 states, “Hello, I was

hoping you would be the person to contact if I had questions on

what sort of information I would need to have ahead of time when

placing a hit if I dont have the address, and if I can make

small requests for once the hits been carried out IE: Make sure

to destroy the phone of the target.”

               e.   On April 28, 2021, following the payment of

Bitcoin, Ula77 submitted their “order,” providing the

information, “OrderName: [Victim 1’s name]” and Order

Description, “I’d like it to look like an accident, but robbery

gone wrong may work better. So long as she is dead. I’d also

like for her phone to be retrieved and destroyed irreparably in

the process.”       On that same day, Ula77 stated, “I would like

proof of her death sent to me. She has a distinctive tattoo on

one of her forearms that I know the image of, so a photo of her


        As discussed below, while law enforcement has not been
        2
able to verify these communications through direct contact with
the Dark Web Group, the substance of these communications has
been verified through BERKETT’s extensive conversations with an
undercover law enforcement officer on May 19 and 20, 2021.
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corpse and a photo of her tattoo for identification would work.

I’ll refrain from sending a picture of the tattoo to avoid

doctored photos. If possible, letting me know if she was in

Arizona or Idaho wuld also be appreciated so I can also verify

via the obituaries.”

             f.   On May 9, 2021, Ula77 stated, “Ive updated the

order so that the bounty matches with what you informed me the

hitman was requesting for the job: 2000 extra to check both

locations and 2000 extra to destroy the phone, and the original

9000 bounty, for a total of 13000. I look forward to receiving

communications that will let me know when, approximately, to

prepare my alibi.”

     17.     Based on my training and experience, and conversations

with other law enforcement officers and agents, as well as my

personal familiarity with this investigation, I am aware of the

following:

             a.   Information provided by the Complainants

described the time of the transaction as well as the receiving

Bitcoin wallet belonging to the Dark Web Group.         The information

indicated that Bitcoin payments for the murder of Victim 1 were

made on April 25, 26, and 28, and May 5, 2021.

             b.   Based on an analysis of the Bitcoin blockchain

used in the transaction, law enforcement was able to determine

that the Bitcoin wallets used to pay the Dark Web Group were

CoinBase wallets.    CoinBase is a Bitcoin exchange service.

             c.   CoinBase provided the owner of the Bitcoin

wallets that the Complainants indicated were responsible for


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paying the Dark Web Group, as well as the transaction history

for those wallets, which I reviewed.       The information provided

by CoinBase shows BERKETT listed as the owner of the Coinbase

Wallets and shows the transactions between BERKETT and the

entity behind the murder for hire sought by BERKETT -- believed

to be the Dark Web Group.

           d.    CoinBase also provided the registration

information for the CoinBase wallets associated with payment to

what is believed to be the Dark Web Group, which included the

name associated with the account, “Scott Berkett,” with the

address listed as the SUBJECT RESIDENCE, and the date of birth,

driver’s license number, social security number, and phone

number associated with BERKETT.

           e.    Coinbase further provided the Bank of America

savings account and Mastercard debit card used to purchase the

Bitcoin.   Both are registered in BERKETT’s name.

     D.    BERKETT Confirms His Desire to Have Victim 1 Murdered
           During Conversation with Undercover Law Enforcement
           Agent

     18.   Based on my training and experience, my participating

in the investigation, conversations with the undercover agent,

and my review of WhatsApp messages and recorded telephone calls,

I am aware of the following:

           a.    On May 19, 2021, a law enforcement undercover

agent (“UC”) contacted BERKETT via the WhatsApp communications

application, purporting to be the hitman BERKETT had contracted

using the Dark Web.     The UC sent BERKETT photos via WhatsApp of

Victim 1 in a Walmart store.      The UC also sent the message,


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“Call me.”    Based on the conversation that followed, I believe

that BERKETT was the user of Ula77 during the communications

with the Dark Web Group.

             b.    On May 19, 2021, at approximately 9:55 p.m., the

UC spoke with BERKETT using BERKETT’s Phone.         During this

initial call, BERKETT claimed to not have received the photos

sent to him by the UC and asked that the photos be resent.

Shortly thereafter, the UC resent the photos of Victim 1 and, at

approximately 9:59 p.m., the UC called BERKETT back via WhatsApp

at the same number.

             c.    During this call, the UC confirmed that BERKETT

had received the photos of Victim 1 and represented to BERKETT

that he was the hitman hired to fulfill the murder-for-hire

contract BERKETT had sought via the Dark Web and paid for using

Bitcoin.    Specifically, BERKETT and the UC had the following

exchange:

     UC: “Hi.     You got the pictures?”

     BERKETT: “Yup.”

     UC: “Yeah.     So, I’m following up on uh, something that was

     started a little while ago.         Um.   I’m just making contact

     with you.”

     BERKETT: “Okay.     I was actually surprised to get, get that

     through WhatsApp.”

     UC: “I know.     We switch things up every once in a while.

     We’ll pick another one after this.”

     BERKETT: “Okay, sounds good.        Yeah, it seems to be the

     person.      Uh, can’t recognize them about, can’t recognize


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       them as well because of the graininess but, yeah that

       looks, that looks like them.”

       UC: “That’s, that’s her, right?”

       BERKETT: “Yeah, that’s her.”

            d.   The UC then confirmed again that the photos of

the victim were BERKETT’s intended target and that BERKETT had

used a Bitcoin payment to obtain her murder.         Specifically,

BERKETT and the UC had the following exchange:

       UCE: “Confirming that’s the person that we talked about on

       the uh, on the other piece, right?”

       BERKETT: “Yeah.”

       UCE: “Okay.   And you’ve already made, you’re already made

       the uh, the uh… the B payment, right?”

       BERKETT: “Yeah, I’ve already done that.”

       UCE: “Okay, good.”

       BERKETT: “That was confirmed by uh… yeah.”

            e.   Based on my training and experience, as well as

my familiarity with this investigation, I believe the “other

piece” was a reference by the UC to the dark web and that “B

payment” was a reference by the UC to the Bitcoin payment made

to the dark web site by Ula77.      BERKETT’s response appears to

confirm his understanding of these references.

            f.   The UC and BERKETT then discussed details of the

murder, namely, how the murder should be made to appear, i.e. as

a robbery or accident.      During this portion of the discussion,

BERKETT expressed concern that the murder not be traced back to

him.   BERKETT also confirmed his desire for proof-of-death, that


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is, a photograph of the victim’s distinctive tattoo.

Specifically, BERKETT and the UCE had the following exchange:

     UC: “Good.    Alright, so my understanding is what has to get

     done is this has to get done, uh we’re looking at some kind

     of accident or robbery to have gone wrong, right?”

     BERKETT: “Yeah.”

     UC: “Okay.”

     BERKETT: “That way it doesn’t get traced.”

     UC: “Right, and then we need to work on making sure your

     alibi is good.     Um, and then we need some, you want some

     kind of proof, and there’s, if I’m, if I’m getting the

     information right, it’s some kind of phone that needs to be

     taken care of as well, right?”

     BERKETT: “Yeah.”

     UC: “Okay.”

     BERKETT: “Uh, proof of the uh tattoo on her, one of her

     forearms.”

     UC: “Okay.    Do you want, is there, do you want that tattoo?

     Is that part of this?”

     BERKETT: “Just need a picture of it to verify.”

     UC: “Okay, do you, do you want it?        Do you, is that, what

     kind of souvenir do you need, or do you need one?”

     BERKETT: “Uh, just the photo…”

     UC: “Just the photo.”

     BERKETT: “…of the tattoo.”

     UC: “Okay, so”

     BERKETT: “It’s distinctive enough that I don’t need a


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     souvenir.”

            g.    The UC then asked BERKETT what sort of proof of

death he required.    Specifically, BERKETT and the UC had the

following exchange:

     UC: “Okay.    What, is there any part of it, so, do you wanna

     see?   Do you want a video of her not breathing?         What do,

     what do you want to see?”

     BERKETT: “Um, picture of the corpse and a picture of the

     tattoo, of the tattoo, to make, to verify . . .”

     UCE: “Okay.”

     BERKETT: “. . . Just so that way, cuz there were warnings

     of like, hey, make sure it’s not photo-shopped.”

            h.    The UC asked BERKETT to provide additional

payment to complete the murder of Victim 1, stating “if you

could just send me, can you, can you float a grand or half a

grand to a Western Union to get this thing done?”          The UC then

provide specific information as to where and to whom to send the

money.   The UC also texted BERKETT this information via

WhatsApp.

            i.    BERKETT and the UC then discussed BERKETT

developing an alibi for Victim 1’s death, with BERKETT stating,

“Uh, there’s a, okay.     There’s a few places nearby maybe that,

that uh can put me on camera.”      BERKETT and the UC then

discussed locations where BERKETT’s car could be seen on camera,

with BERKETT describing his car as “an old Mercedes.”          The

SUBJECT VEHICLE is a 2008 Mercedes that BERKETT was observed

driving as recently as May 13, 2021, and has been observed on


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the curb in front of the garage of the SUBJECT RESIDENCE on May

19 and 20, 2021.

             j.   The UC then asked for any additional information

about Victim 1, to which BERKETT responded that she has a dog,

that her family has a gun, and that Victim 1 “Uh . . . has weak

heart, so probably would be very e . . ., so any uh, any drunk,

any feigning a drunk driver situation would probably be very

easy to pull off, off probably, would and, wouldn’t have as high

of a survival chance. Uh . . .”

     19.     Based on the conversations between Victim 1 and law

enforcement, the details provided by BERKETT to the UC align

with Victim 1.    Victim 1 stated that she has a dog and the dog

has come up in conversation with BERKETT.        Additionally, Victim

1 has confirmed that her family does have a gun at their

residence and Victim 1 recalled a conversation with BERKETT

where this was discussed.

     E.      BERKETT Makes Western Union Money Transfer For Murder
             of Victim 1

     20.     Based on my training and experience, and conversations

with other law enforcement officers and agents, as well as my

personal familiarity with this investigation, I am aware of the

following:

             a.   On May 19, 2021, BERKETT was instructed by the UC

to make a Western Union Money Transfer of $1,000 to an

individual in Scottsdale, Arizona, as payment for the murder-

for-hire.    The next day, May 20, 2021, the UC messaged BERKETT

on WhatsApp asking for an update and, at approximately 3:11



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p.m., BERKETT responded that he “started to move the funds.

Shouldn’t take more than an hour. I’ll let you know if there’s

an issue.

            b.   On May 20, 2021, following BERKETT’s discussion

with the UC, I conducted surveillance of the SUBJECT RESIDENCE

during which law enforcement observed BERKETT leave the house

and walk to the Rite Aid located at 463 N. Bedford Drive,

Beverly Hills 90210.     A Western Union kiosk is located inside

this Rite Aid.    While inside the Rite Aid, at approximately 5:25

p.m., I observed BERKETT at the Western Union booth and on the

Western Union phone.     BERKETT then went to the Rite Aid cashier

to pay for the transaction.      I observed BERKETT present the

cashier with cash.

            c.   Following this transaction, FBI SA Sarah Corcoran

received a Rite Aid Corporation Detail Journal Report from a

Rite Aid employee that showed a $1,000 Western Union transaction

with Rite Aid and $31 fee had been paid by BERKETT.

            d.   At approximately 5:45 p.m., BERKETT messaged the

UC on WhatsApp, “Done. 5350546096.”       Based on my training and

experience, as well as my familiarity with this investigation, I

believe this message from BERKETT to the UC was confirmation

that he had made the Western Union transfer for the murder and

was providing the proof of transfer code to the UC.

            e.   On May 21, 2021, I was able to confirm through

Western Union’s website using the “5350546096” tracking code

provided by BERKETT, that the money was transferred and was

ready for pick up.


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     F.      Investigation of SUBJECT RESIDENCE and SUBJECT VEHICLE

     21.     Based on my training and experience, and conversations

with other law enforcement officers and agents, as well as my

personal familiarity with this investigation, I am aware of the

following:

             a.   On or about May 14, 2021, I reviewed records

obtained from the California Department of Motor Vehicles and

learned that SUBJECT VEHICLE is currently registered to

BERKETT’s father, who also lives at the SUBJECT RESIDENCE.

According to Victim 1, BERKETT was driving SUBJECT VEHICLE when

he picked her up from LAX in October 2020.

             b.   On or about May 14, 2021, I submitted an

Emergency Disclosure Request (“EDR”) for subscriber information

and records for BERKETT’s Phone.         In response to the EDR, the

contact name on the account was provided: “Scott Berkett.”

BERKETT’s father was also listed on the account.         Also, in

response to the EDR, Verizon provide information that on or

about May 14-16, 2021, BERKETT’s phone number was pinging

consistently in the vicinity of SUBJECT RESIDENCE.

             c.   Based on my conversations with Victim 1, during

her trip to Los Angeles in October 2020 to visit BERKETT, she

visited the SUBJECT RESIDENCE.      According to Victim 1, BERKETT

has a room within this residence.

             d.   On May 17, 2021, Victim 1 was provided photos of

the SUBJECT VEHICLE and she confirmed this was the vehicle that

BERKETT drove during her trip.




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           e.    On or about May 14, 16, 19, and 20, 2021, I

conducted physical surveillance of the SUBJECT RESIDENCE.           At

that time, the SUBJECT VEHICLE was parked on the curb in front

of the garage for the residence.

           f.    Based on the foregoing, I believe that BERKETT

currently lives at the SUBJECT RESIDENCE and has access to and

operates the SUBJECT VEHICLE.

     G.    Probable Cause to Believe Evidence of the SUBJECT
           OFFENSES Will be Found in SUBJECT RESIDENCE, SUBJECT
           VEHICLE, and on BERKETT’s Person

     22.   Based on my training and experience investigating

stalking and threat-to-life cases, I know that individuals

engaged in such conduct commonly use fake or anonymized

accounts, false identifications or identities, or stolen

identifications, in order to avoid detection and to hide their

true identities.    These individuals often also keep evidence

related to these accounts and identifiers in secure, easily-

accessible places, like their homes, cars, and on their person.

     23.   Based on the foregoing, as well as my training,

experience, and knowledge of this investigation, I also believe

that electronic devices, including computers, laptops, tablets,

and cellular telephones capable of making telephone calls and

accessing the internet as discussed above -- and that were

likely used by BERKETT during the activities described herein --

will be found at the SUBJECT RESIDENCE, in the SUBJECT VEHICLE,

and on BERKETT’s person.     Based on BERKETT’s use of the

internet, and other digital devices, I also believe digital and

physical evidence related to the SUBJECT OFFENSES (including


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evidence related to identity) will be found at the SUBJECT

RESIDENCE, in the SUBJECT VEHICLE, and on BERKETT’s person.

           VI. TRAINING AND EXPERIENCE ON DIGITAL DEVICES

     24.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

           a.    Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.          Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.      Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.          That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

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data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.      Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

     25.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:

           a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which


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may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.

           b.    Digital devices capable of storing multiple

gigabytes are now commonplace.      As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

     26.   The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,

which I know from my training, experience, and review of

publicly available materials:

           a.    Users may enable a biometric unlock function on

some digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.          To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

           b.    In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when


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a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.         I do not know

the passcodes of the devices likely to be found in the search.

           c.    Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress BERKETT’s thumb and/or fingers on the

device(s); and (2) hold the device(s) in front of BERKETT’s face

with his or her eyes open to activate the facial-, iris-, and/or

retina-recognition feature.

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                            VII. CONCLUSION

     27.   For all the reasons described above, there is probable

cause to believe that BERKETT has solicited the murder of Victim

1 in violation of 18 U.S.C. § 1958 (Murder-For-Hire).          Further,

there is probable cause to believe that evidence of violations

of the SUBJECT OFFENSES, as described above and in Attachment B

of this affidavit, will be found in a search of the SUBJECT

RESIDENCE, the SUBJECT VEHICLE, and on BERKETT’s person as

further described above and in Attachments A-1, A-2, A-3, to

this affidavit.




                                         Caitlin Bowdler, Special Agent
                                         FBI

Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ___ day of May,
2021.


UNITED STATES MAGISTRATE JUDGE




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                                ATTACHMENT A-1
PREMISES TO BE SEARCHED

     The premises located at 301 S. El Camino Drive, Beverly

Hills, California 90212, the residence of SCOTT BERKETT

(“SUBJECT RESIDENCE”).     The SUBJECT RESIDENCE is a two-story

single-family residence, as depicted in the photograph below.

     The SUBJECT RESIDENCE includes any and all storage units,

containers, attachments, attics, safes, carports, garages,

vehicles, outbuildings, and all other areas within the

curtilage.
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                                ATTACHMENT A-2

VEHICLE TO BE SEARCHED

A red Mercedes Benz sedan with California license plate 6GFE033,

and Vehicle Identification number WDBTK56F08T099038 (“SUBJECT

VEHICLE”), as depicted in the photograph below.
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                                ATTACHMENT A-4

PERSON TO BE SEARCHED

     The person of SCOTT BERKETT (“BERKETT”), date of birth

April 22, 1997, with California Driver’s License Number

F7005190.   BERKETT’s California Department of Motor Vehicle

records lists him as standing 6’0” tall with brown hair and

green eyes.

     The search of BERKETT shall include any and all clothing

and personal belongings, digital devices, backpacks, wallets,

briefcases, purses, and bags that are within BERKETT’s immediate

vicinity and control at the location where the search warrant is

executed.   The search shall not include a strip search or a body

cavity search.
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                                 ATTACHMENT B

I.   ITEMS TO BE SEIZED

     1.    The items to be seized are evidence, contraband,

fruits, or instrumentalities of violations of 18 U.S.C. § 1958

(Murder-For-Hire); 18 U.S.C. § 373 (Solicitation to Commit a

Crime of Violence); and 18 U.S.C. § 371 (Conspiracy) (the

“SUBJECT OFFENSES”), namely:

           a.    Messages, documents, communications, photographs,

records or digital media regarding Victim 1, the dark net, the

dark web, or similar Tor network, soliciting murder, soliciting

a crime of violence, bitcoin, and cryptocurrency;

           b.    Records and information related to victim,

including but not limited to photographs, videos, drawings,

depicting the likenesses of the victim, their relatives,

neighbors, co-workers, or friends;

           c.    Records or internet searches or activity

regarding murder, murder-for-hire, alibis, hitman, bitcoin,

cryptocurrency, the dark web, and the dark net;

           d.    Records and information related to threats to

commit, or the commission of acts of sexual or other physical

violence against others;

           e.    Records and information relating to the purchase,

possession, or use of digital devices, including smartphones,

“burner” phones, desktop computers, laptop computers, encryption

software/services, virtual Private Network (“VPN”) subscription

services, and identity alteration or modulation devices,

programs and software;
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           f.     Records and information relating to accounts used

or controlled by BERKETT with any telephone service provider,

internet service provider, or other online communication

service;

           g.     Records and information related to the use of

instant and social media messages (such as Discord, Facebook,

Facebook Messenger, Snapchat, FaceTime, Skype, and WhatsApp),

SMS text, email communications, or other text or written

communications sent to or received from any digital device in

connection with the SUBJECT OFFENSES;

           h.     Records and information related to the use of the

dark net and any accounts used or controlled by BERKETT on the

dark web or dark net;

           i.     Records and information related to call logs,

including all telephone numbers dialed from any of the digital

devices seized and all telephone numbers accessed through any

push-to-talk functions, as well as all received or missed

incoming calls;

           j.     Records and information sufficient to show

address book information, including all stored or saved

telephone numbers;

           k.     Records and information sufficient to show

indicia of occupancy, residency or ownership of the SUBJECT

RESIDENCE and the property to be seized pursuant to the

warrants, including forms of personal identification, records


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relating to utility bills, telephone bills, loan payment

receipts, rent receipts, trust deeds, lease of rental

agreements, addressed envelopes, escrow documents, keys,

letters, mail, canceled mail envelopes, or clothing;

           l.    Global Positioning System (“GPS”) coordinates and

other information or records identifying travel routes,
destinations, origination points, and other locations from

October 2019 to the present; and

           m.    Any digital device which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the SUBJECT OFFENSES, and forensic copies thereof.

           n.    With respect to any digital device containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                 i.    evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                 ii.   evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;

                 iii. evidence of the attachment of other devices;


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                 iv.     evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                 v.      evidence of the times the device was used;

                 vi.     passwords, encryption keys, biometric keys,

and other access devices that may be necessary to access the

device;

                 vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                 viii.        records of or information about

Internet Protocol addresses used by the device;

                 ix.     records of or information about the device’s

Internet activity, including firewall logs, caches, browser

history and cookies, “bookmarked” or “favorite” web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.

     2.    As used herein, the terms “records,” “documents,”

“programs,” “applications,” and “materials” include records,

documents, programs, applications, and materials created,

modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.

     3.    As used herein, the term “digital device” includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal


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digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.

II.   SEARCH PROCEDURE FOR DIGITAL DEVICES

      4.   In searching digital devices or forensic copies

thereof, law enforcement personnel executing this search warrant

will employ the following procedure:

           a.    Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) will, in

their discretion, either search the digital device(s) on-site or

seize and transport the device(s) and/or forensic image(s)

thereof to an appropriate law enforcement laboratory or similar

facility to be searched at that location.        The search team shall

complete the search as soon as is practicable but not to exceed

120 days from the date of execution of the warrant.          The

government will not search the digital device(s) and/or forensic

image(s) thereof beyond this 120-day period without obtaining an

extension of time order from the Court.



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           b.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                 i.    The search team may subject all of the data

contained in each digital device capable of containing any of

the items to be seized to the search protocols to determine

whether the device and any data thereon falls within the list of

items to be seized.     The search team may also search for and

attempt to recover deleted, “hidden,” or encrypted data to

determine, pursuant to the search protocols, whether the data

falls within the list of items to be seized.

                 ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                 iii. The search team may use forensic examination

and searching tools, such as “EnCase” and “FTK” (Forensic Tool

Kit), which tools may use hashing and other sophisticated

techniques.

           c.    The search team will not seize contraband or

evidence relating to other crimes outside the scope of the items

to be seized without first obtaining a further warrant to search

for and seize such contraband or evidence.

           d.    If the search determines that a digital device

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the device and delete or destroy all forensic copies thereof.




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           e.    If the search determines that a digital device

does contain data falling within the list of items to be seized,

the government may make and retain copies of such data, and may

access such data at any time.

           f.    If the search determines that a digital device is

(1) itself an item to be seized and/or (2) contains data falling

within the list of other items to be seized, the government may

retain the digital device and any forensic copies of the digital

device, but may not access data falling outside the scope of the

other items to be seized (after the time for searching the

device has expired) absent further court order.

           g.    The government may also retain a digital device

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.

           h.    After the completion of the search of the digital

devices, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.

     5.    The review of the electronic data obtained pursuant to

this warrant may be conducted by any government personnel

assisting in the investigation, who may include, in addition to

law enforcement officers and agents, attorneys for the

government, attorney support staff, and technical experts.


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Pursuant to this warrant, the investigating agency may deliver a

complete copy of the seized or copied electronic data to the

custody and control of attorneys for the government and their

support staff for their independent review.

        6.   In order to search for data capable of being read or

interpreted by a digital device, law enforcement personnel are

authorized to seize the following items:

             a.   Any digital device capable of being used to

commit, further, or store evidence of the offense(s) listed

above;

             b.   Any equipment used to facilitate the

transmission, creation, display, encoding, or storage of digital

data;

             c.   Any magnetic, electronic, or optical storage

device capable of storing digital data;

             d.   Any documentation, operating logs, or reference

manuals regarding the operation of the digital device or

software used in the digital device;

             e.   Any applications, utility programs, compilers,

interpreters, or other software used to facilitate direct or

indirect communication with the digital device;

             f.   Any physical keys, encryption devices, dongles,

or similar physical items that are necessary to gain access to

the digital device or data stored on the digital device; and

             g.   Any passwords, password files, biometric keys,

test keys, encryption codes, or other information necessary to

access the digital device or data stored on the digital device.


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     7.    During the execution of this search warrant, law

enforcement is permitted to: (1) depress BERKETT’s thumb and/or

fingers onto the fingerprint sensor of the device (only when the

device has such a sensor), and direct which specific finger(s)

and/or thumb(s) shall be depressed; and (2) hold the device in

front of BERKETT’s face with his or her eyes open to activate

the facial-, iris-, or retina-recognition feature, in order to

gain access to the contents of any such device.         In depressing a

person’s thumb or finger onto a device and in holding a device

in front of a person’s face, law enforcement may not use

excessive force, as defined in Graham v. Connor, 490 U.S. 386

(1989); specifically, law enforcement may use no more than

objectively reasonable force in light of the facts and

circumstances confronting them.

     8.    The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not

apply to any search of digital devices pursuant to any other

court order.




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